              Case
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   EXHIBIT A


                14cr68 Sealed Filings
                               11   Joseph Pecorino                               03/29/2018 01 :52 PM

1 1r   r1      Mary Salcedo/NYSD/02/USCOURTS
               Joseph Pecorino/NYSD/02/USCOURTS@USCOURTS
                                                ~·-········-··--·-····-·······~--~~~-~····~·~~~-~--------~~--~~-
                     This message has been replied to.


Hi Joe,

Below is the list of sealed documents for 14cr68:

#6     3 letters to Magistrate Judge Fox
#15    Ex Parte Affirmation & Proposed Order
#65    Ex parte order dated 9/5/14
#66    Order dated 9/16/14
#91    Ex parte order dated 10/14/14
#95    Ex Parte, Affirmation & Order
#99    Order dated 12/1 /14
#104   Endorsed Letter dated 12/4/14
#135   Order dated 12/12/14
#136   Endorsed Letter dated 12/17/14
#137   12/18/14 Order by Endorsement
#138   Endorsed Letter dated 12/18/19
#141   Sealed memo and decision (redacted) dated 12/22/14
#143   Pgs 1-61 sentence-TRANSCRIPT
#151   Endorsement 12/30/14
#152   Endorsement 12/31/14                                                            r.~t
#153   Sealed Order re Nullification
#158   1. 11 /21 /14 Letter from Gov't
       2. 12/3/14 Letter from deft.
       3. 12/10/14 Gov't witness list
       4. 12/11 /14 Letter from Gov't
       5. 12/16/14 Letter from deft
       6. 12/16/14 Gov't witness list (corr.)
       7. 12/17/14 Letter from Gov't
       8. 12/18/14 2 Letters from deft (w/ endorsement)
       9. 12/18/14 3 Letters from Gov't
        10. 12/19/14 Letter from Gov't
        11. 12/30/14 Letter from Gov't
        12. 1//5/15 Letter from Gov't
        13. 1/6/15 Letter from deft (w/ endorsement)                                llSDC' SDNY
#159    1. 12/9/14 Letter from deft. & objections to Gov't exs.
        2. 12/9/14 Notice of deft's Motions in Limine                               DOCUMENT
        3. 12/9/14 Dratel Declaration                                               ELECTRONICALLY FILED
       4. 12/9/14 Deft's Motions in Limine Brief
        5. 12/12/14 Gov't opposition to deft's Motions in Limine (with ex A)        DOC#:
#160    Ex Parte Letters from defense                                                            -.w=R..-O..--z-20""\....
                                                                                    DATE F-IL_E_D_:                   8
        1. 8/8/14 letter
        2. 12/9/14 letter
        3. 12/18/14 Letter
#161    1/20/15 Letter from the Gov't
#194    Ex parte Gov't submissions dated: 2/14/14; 5/20/14; 9/12/14; 9/15/14; 9/30/14; 10/14/14; 10/28/14;
11/21/14; 12/12/14
#195    Memo endorsed 1/6/15 letter from J. Dratel
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#225   Defendant's letter dated 3/6/15
#275   DVD-Rom from Govt's Submission dtd 5/18/15
#276   PSR
#279   Amended presentence report
#284   Letter from the Government dated 10/3/15
#293   Trial-1/13/15, Pages 1, 15-28, 118-119-TRANSCRIPT

Mary Salcedo
Sealed Records Clerk
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007
212-805-0705




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